      Case 1:23-cr-00490-SHS         Document 496      Filed 07/02/24     Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
              v.
                                                        23-Cr-490 (SHS)
ROBERT MENENDEZ, NADINE
MENENDEZ, WAEL HANA, and FRED                           ORDER
DAIBES,
                             Defendants.

SIDNEY H. STEIN, U.S. District Judge.
     In letters dated June 30 and July 2, 2024, the government objected to the admission
of portions of Michael Critchley's deposition testimony. Menendez responded with a
letter on June 30, 2024, and Hana responded on July 2, 2024.
    The Court hereby grants the government's motion to strike the following sections of
Critchley' s testimony:
              Transcript Citation        Basis for Striking
              24:5-16, 24:19-25          Rules 401 and 701
              25:12-28:12                Rules 401, 403, and 701; hearsay
              28:18-29:18                Rules 401 and 403
              29:19-25, 30:11-32:8       Rules 401 and 403; hearsay
              32:22-33:13                  Rules 401 and 403
              33:14-17                     No answer to the question
              33:21-34:6                 Rules 401 and 403
              48:2-12                    Rules 401, 403, and 701; hearsay
              57:20-25                   Leading question
              62:13-63:2                   Rules 401, 403, and 701
              71:1-13                    Rules 401 and 403; hearsay
              71:18-24                   Rules 401 and 403
              100:3-102:9                  Rules 401, 403, and 701
              103:14-104:23, 105:20-
                                         Rules 403 and 701
              106:3


    The government's remaining objections are denied.
      Case 1:23-cr-00490-SHS      Document 496       Filed 07/02/24     Page 2 of 2




    The Court also grants Menendez' s motion to strike the following section of
Critchley' s cross-examination:
             Transcript Citation :w     Basis for Striking,,       )f


             76:2-78:9, 78:14-79:15     Rules 401, 403, and 701

    Menendez's remaining objections were withdrawn in his June 30, 2024 letter.


Dated: New York, New York
       July 2, 2024




                                                 y H. Stein, U.S.D.J.




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